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  U NI T E D S T A T E S DI S T RI C T C O U R T
  E A S T E R N DI S T RI C T O F N E W Y O R K


  U NI T E D S T A T E S O F A M E RI C A,

                   Pl ai ntiff,                        C as e N o.: 1: 2 1- cr- 0 0 3 7 1- B M C- T A M

          v.

  A L M A LI K A L S H A H HI, et al.,

                   D ef e n d a nts.




          D E F E N D A N T T H O M A S J. B A R R A C K, J R.’ S M E M O R A N D U M O F L A W
     I N O P P O SI TI O N T O T H E G O V E R N M E N T’ S M O TI O N I N LI MI N E T O E X C L U D E
                        E X P E R T T E S TI M O N Y O F D A NI E L N. H O F F M A N
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                                                       T A B L E OF C O N T E N TS

                                                                                                                                              P a ge

  F A C T U A L B A C K G R O U N D ........................................................................................................ 1
  L E G A L S T A N D A R D .................................................................................................................... 3
  A R G U M E N T .................................................................................................................................. 4
  C O N C L U SI O N ..............................................................................................................................6




                                                                         -i-
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                                           T A B L E O F A U T H O RI TI E S

                                                                                                                  P a g e(s)

  C AS ES
  U nit e d St at es v. Fi n azz o , 2 0 1 3 W L 6 1 8 4 2 5 ( E. D. N. Y. F e b. 1 9, 2 0 1 3) … … … … … … … … … ….. 5
  U nit e d St at es v. G as p ari k , 1 4 1 F. S u p p. 2 d 3 6 1 ( S. D. N. Y. 2 0 0 1) … … … … … … … … … … … ….. 4
  U nit e d St at es v. M a h aff y , 2 0 0 7 W L 1 2 1 3 7 3 8 ( E. D. N. Y. A pr. 2 4, 2 0 0 7) … … … … … … … … … … 5
  U nit e d St at es v. S c h n ei d er m a n , 1 0 4 F. S u p p. 4 0 5 ( S. D. C al. A pr. 2 3, 1 9 5 2) … … … … … … … …. 4
  U nit e d St at es v. T uz m a n , 2 0 1 7 W L 6 5 2 7 2 6 1 ( S. D. N. Y. D e c. 1 8, 2 0 1 7) … … … … … … … … … … 6
  U nit e d St at es v. V al e nti n , 2 0 1 6 W L 1 2 1 1 3 0 4 ( D. C o n n. M ar. 2 5, 2 0 1 6) … … … … … … … … … … 6
  U nit e d St at es v. W hit e , 5 8 2 F. 3 d 7 8 7 ( 7t h Cir. 2 0 0 9) … … … … … … … … … … … … … … … …. …. 6
  U nit e d St at es v. Wils o n , 4 9 3 F. S u p p. 2 d 4 8 4 ( E. D. N. Y. 2 0 0 6) … … … … … … … … … … … ….. 3, 5
  R U L ES
  F e d er al R ul e of Cri mi n al Pr o c e d ur e 1 6( b)( 1)( C) … … … … … … … … … … … … … … … …...p assi m
  F e d er al R ul e of E vi d e n c e 7 0 2 … … … … … … … … … … … … … … … … … … … … … … … … … ….. 5
  S E C O N D A R Y S O U R C ES
  2 5 M o or e’s F e d er al Pr a cti c e – Cri mi n al § 6 1 6. 0 5 ( M att h e w B e n d er 3 d e d.) … … … … … … … ….. 6




                                                             -ii-
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             S e v er al w e e ks b ef or e tri al, Mr. B arr a c k i nf o r m e d t h e g o v er n m e nt t h at h e m a y c all D a ni el

  H off m a n as a n e x p ert i n its c a s e-i n- c hi ef t o r e b ut t esti m o n y fr o m t h e g o v er n m e nt’s e x p ert o n

  c o u nt eri nt elli g e n c e, Mi c h a el Hi g gi ns.    Mr. B arr a c k als o dis cl os e d Mr. H off m a n’s b a c k gr o u n d a n d

  cr e d e nti als.




             T h e g o v er n m e nt m o v es t o pr e c l u d e Mr. B arr a c k fr o m pr es e nti n g Mr. H off m a n’s t esti m o n y,

  o n t h e t h e or y t h at t h e d ef e ns e s h o u l d h a v e dis cl os e d his t esti m o n y e arli er a n d i n m or e d et ail. B ut

  F e d er al R ul e of Cri mi n al Pr o c e d ur e 1 6( b)( 1)( C ) d o es n ot r e q uir e t h e dis cl os ur e t h at t h e

  g o v er n m e nt s u g g ests. T his C o urt s h o ul d a d mit t h e t esti m o n y of Mr. H off m a n.

                                                   F A CT U AL B A C K G R O U N D

             B ef or e tri al, t h e g o v er n m e nt dis cl os e d t h at it i nt e n d e d t o pr es e nt e x p ert t esti m o n y fr o m Mr.

  Mi c h a el Hi g gi ns o n v er y br o a d t o pi cs ( n ot li mit e d t o t h e U nit e d Ar a b E mir at es) t h at u ns p e cifi e d

  f or ei g n g o v er n m e nts e n g a g e i n r e g ar di n g es pi o n a g e a n d f or ei g n i nfl u e n c e. I n a nti ci p ati o n of t h at

  t esti m o n y, o n S e pt e m b er 2, 2 0 2 2, Mr. B arr a c k dis cl os e d t h at h e m a y c all a r e b utt al e x p ert t o

  a d dr ess ar e as si mil ar t o Mr . Hi g gi ns. ( E x. A at 1- 2.)              Mr. B arr a c k t h us g a v e n oti c e of his i nt e nt t o




                                                                        - 1-
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  c all Mr. H off m a n, Mr. H off m a n’s cr e d e nti als, a n d t h e g e n er al c a t e g or y of his t esti m o n y, n e arl y

  t hr e e w e e ks b ef or e tri al.

            T h e g o v er n m e nt di d n ot r es p o n d t o        Mr. B arr a c k’s dis cl os ur e, n or di d it as k f or a n y

  a d diti o n al i nf or m ati o n a b o ut Mr. H o ff m a n or his e x p e ct e d t esti m o n y or att e m pt t o m e et a n d c o nf er

  a b o ut his att e m pt e d t esti m o n y. I nst e a d, o n S e pt e m b er 2 3, 2 0 2 2, t h e g o v er n m e nt fil e d a m oti o n t o

  pr e cl u d e Mr. H off m a n’s t e sti m o n y e ntir el y, p ur p ort e dl y o n t h e b asis t h at t h e d ef e ns e h a d n ot

  c o m pli e d wit h R ul e 1 6( b)( 1)( C). S e e E C F N os. 2 6 6, 2 7 7.

            Mr. B arr a c k pr o vi d e d n oti c e of          Mr. H off m a n ’s a nti ci p at e d t esti m o n y e arli er t o d a y

  ( S e pt e m b er 2 6).      As d et ail e d i n t h at dis cl os ur e,      Mr. B arr a c k pr es e ntl y a nti ci p at es t h at       Mr.

  H off m a n’s t esti m o n y will c o v er:




  ( E x. B. at 2- 3.)

            T h e ti mi n g of Mr. B arr a c k’s dis cl os ur e of t h e t o pi cs Mr. H off m a n e x p e cts t o c o v er s h o ul d

  n ot pr e cl u d e Mr. B arr a c k fr o m c alli n g Mr. H off m a n as a r e b utt al e x p ert .                T h e C o urt h as n ot

  i m p os e d a d e a dli n e f or e x p ert dis cl os ur es. S ev er al w e e ks r e m ai n b ef or e Mr. B arr a c k a n d Mr.

  Gri m es b e gi n pr es e nti n g t h ei r c as e-i n- c hi ef — w hi c h is pl e nt y of ti m e f or t h e g o v er n m e nt t o pr e p ar e




                                                                     - 2-
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  w h at e v er it w o ul d li k e a b o ut Mr. H off m a n. A n d t h e g o v er n m e nt h as n ot as k e d f or a n y i nf or m ati o n

  a b o ut Mr. H off m a n’s t esti m o n y si n c e Mr. B arr a c k i d e ntifi e d hi m o n S e pt e m b e r 2. E arli er i n t his

  tri al, t h e g o v er n m e nt s o u g ht t o e x p a n d t h e s c o p e of its o w n R ul e 1 6 e x p ert , C hrist o p h er D a vi ds o n,

  aft er h e h a d alr e a d y st art e d his t esti m o n y . Y et it n o w s e e ks t o pr e cl u d e Mr. H off m a n’s t esti m o n y,

  w e e ks b ef or e h e is li k el y t o t estif y. T h e g o v er n m e nt’s m oti o n s h o ul d b e d e ni e d.

                                                        LE G AL ST A N D A R D

             F e d er al R ul e of Cri mi n al Pr o c e d ur e 1 6( b)( 1)( C) pr o vi d es:

                        E x p ert Wit n ess es. T h e d ef e n d a nt m ust , at t h e g o v er n m e nt’s r e q u est, gi v e

             t o t h e g o v er n m e nt a writt e n s u m m ar y of a n y t esti m o n y t h at t h e d ef e n d a nt i nt e n ds

             t o us e u n d er R ul es 7 0 2, 7 0 3, or 7 0 5 of t h e F e d er al R ul es of E vi d e n c e as e vi d e n c e

             at tri al, if —

                        (i) t h e d ef e n d a nt r e q u ests dis cl os ur e u n d er s u b di visi o n ( a)( 1)( G) a n d t h e

             g o v er n m e nt c o m pli es; or

                        (ii) t h e d ef e n d a nt h as gi v e n n oti c e u n d er R ul e 1 2. 2( b) of a n i nt e nt t o pr es e nt

             e x p ert t esti m o n y o n t h e d ef e n d a nt’s m e nt al c o n diti o n.

             T his s u m m ar y m ust d es cri b e t h e wit n ess’s o pi ni o ns, t h e b as es a n d r e as o ns f or t h os e

             o pi ni o ns, a n d t h e wit n es s’s q u alifi c ati o ns[.]

             T h e R ul e pr o vi d es n o r e q uir e m e nt as t o t h e ti mi n g of t h e r eq uir e d dis cl os ur es, t h o u g h “it

  is e x p e ct e d t h at t h e p arti es will m a k e t h eir r e q u ests a n d dis cl os ur es i n a ti m el y f as hi o n. ” U nit e d

  St at es v. Wils o n , 4 9 3 F. S u p p. 2 d 4 8 4, 4 8 7 ( E. D. N. Y. 2 0 0 6) ( q u oti n g F e d er al R ul e of Cri mi n al

  Pr o c e d ur e 1 6, A d vis or y C o m m. N ot e t o 1 9 9 3 A m e n d m e nts). T h e R ul e als o d o es n ot s p e cifi c all y

  a d dr ess d ef e ns e r e b utt al e x p erts.




                                                                      - 3-
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                                                               A R G U ME NT

             T h e g o v er n m e nt’s ar g u m e nt is pr e mis e d o n t h e n oti o n t h at “ d ef e n d a nts h a v e pr o vi d e d n o

  writt e n s u m m ar y of a n y t esti m o n y t h at t h e y i nt e n d t o eli cit fro m Mr. H off m a n u n d er R ul es 7 0 2,

  7 0 3, or 7 0 5 of t h e F e d er al R ul es of E vi d e n c e, n or a n y s u m m ar y t h at d es cri b es Mr. H off m a n’s

  o pi ni o ns or t h e b as es a n d r e as o ns f or t h os e o pi ni o ns, as r e q uir e d b y R ul e 1 6( b)( 1)( C). ” L ett er 2.

  As n ot e d a b o v e, Mr. B arr a c k h as n o w pr o vi d e d t h at n oti c e; R ul e 1 6 d o es n ot m a n d at e a p arti c ul ar

  ti mi n g t o t h os e dis cl os ur es; a n d t h e ti mi n g of Mr. B arr a c k’s dis cl os ur e aff or d t h e g o v er n m e nt

  a m pl e ti m e t o pr e p ar e b ef or e Mr. H o ff m a n t estifi es i n s e v er al w e e ks.

             A d diti o n all y, r e b utt al e vi d e n c e is n ot s u bj e ct t o t h e s a m e dis cl os ur e r e q uir e m e nts as

  e vi d e n c e t h at a p art y i nt e n ds t o us e i n its c a s e-i n- c hi ef.          T h e g e n er al p ur p os e of R ul e 1 6’s

  dis cl os ur e r e q uir e m e nt — w hi c h, as t h e g o v er n m e nt n ot es, is t o r ed u c e t h e n e e d f or c o nti n u a n c es

  a n d pr o vi d e t h e o p p o n e nt wit h a f air o p p ort u nit y t o t e st t h e m erits of t h e e x p ert’s t esti m o n y t hr o u g h

  f o c us e d cr oss- e x a mi n ati o n, s e e L ett er 2 — ar e l ess a p p osit e t o r e b utt al e vi d e n c e, w hi c h m er el y

  a d dr ess es e vi d e n c e t h at is alr e a d y p a rt of t h e tri al. A n d “ a v oi d a n c e of pitf alls i n . . . r e b utt al is n ot

  a n e n d w hi c h pr e-tri al dis c o v er y is p ur p os e d t o f urt h er. ” U nit e d St at es v. S c h n ei d er m a n , 1 0 4 F.

  S u p p. 4 0 5, 4 1 0 ( S. D. C al. A pr. 2 3, 1 9 5 2). F or t his r e as o n, c o urts h a v e b e e n m or e f or gi vi n g a b o ut

  t h e ti mi n g of dis cl os ur es f or r e b utt al wit n ess es. I n U nit e d St at es v. G as p ari k , 1 4 1 F. S u p p. 2 d 3 6 1

  ( S. D. N. Y. 2 0 0 1), f or e x a mpl e, t h e c o urt pr e cl u d e d a g o v er n m e nt wit n ess fr o m t estif yin g i n t h e

  g o v er n m e nt’s dir e ct c as e w h e n t h at wit n ess w as n ot i d e ntifi e d o n t h e g o v er n m e nt’s wit n ess list.

  B ut it si m ult a n e o usl y n ot e d t h at t h e wit n ess c o ul d t estif y as a r e b utt al wit n ess b e c a us e “r e b utt al

  wit n ess es c a n n ot al w a ys b e a nti ci p at e d as m u c h d e p e n ds o n w h at is i ntr o d u c e d i n t h e d ef e ns e c as e ”

  a n d t h us, t h e g o v er n m e nt’s f ail ur e t o i d e ntif y t his wit n ess o n its wit n ess list “ d o es n ot w arr a nt his

  pr e cl usi o n i n r e b utt al. ” I d. at 3 6 8.




                                                                       - 4-
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              T h e c as es t h e g o v er n m e nt cit e s i n s u p p ort of its m oti o n i n li mi n e ar e f ar afi el d fr o m t his

  o n e. Wils o n        pr e cl u d e d t h e t esti m o n y of a d ef e ns e wit n ess — n ot a r e b utt a l wit n ess. 4 9 3 F. S u p p.

  2 d at 4 8 5. A n d u nli k e t h e g o v er n m e nt h er e, t h e g o v er n m e nt i n Wils o n           m a d e “r e p e at e d r e q u ests ”

  f or a writt e n s u m m ar y of t h e e x p ert’s t esti m o n y. I d. at 4 8 6. F urt h er, u nli k e t his c as e w h er e n o

  d e a dli n e h as b e e n i m p os e d, t h e c o urt i n Wils o n      h a d i m p os e d a d e a dli n e f or s u c h dis cl os ur es. I d.

  at 4 8 7.     A n d t h e wit n ess i n Wils o n , u nli k e t h e wit n ess h er e, “ m a d e n o att e m pt at all t o d es cri b e

  ‘t h e b as es a n d r e as o ns f or [ his] o pi ni o ns’ as r e q uir e d b y F e d. R. Cri m. P. 1 6( b)( 1)( C). ” Wils o n , F.

  S u p p. 2 d at 4 8 7.        Mr. B arr a c k h as n o w s u p pl e m e nt e d his dis cl os ur es f or Mr. H off m a n, m a ki n g

  Wils o n e v e n l ess a p p osit e t o t his c as e.

              Si mil arl y, t h e c o urt i n U nit e d St at es v. M a h aff y , 2 0 0 7 W L 1 2 1 3 7 3 8 ( E. D. N. Y. A pr. 2 4,

  2 0 0 7), pr e cl u d e d t esti m o n y fr o m a d ef e ns e e x p ert w h er e t h e d ef e n d a nts dis cl os e d t h e n a m e of a n

  e x p ert wit n ess aft er t h e c o urt-i m p os e d d e a dli n e f or s u c h dis cl os ur es. I d. at * 3.               A n d t h e c o urt

  n ot e d t h at t h e pr o p os e d t esti m o n y s h o ul d b e e x cl u d e d b e c a us e it w o ul d n ot pr o vi d e t h e “s ci e ntifi c,

  t e c h ni c al, or ot h er s p e ci ali z e d k n o wl e d g e [ w hi c h] will assist t h e tri er of f a ct t o u n d erst a n d t h e

  e vi d e n c e or d et er mi n e a f a ct i n iss u e. ” I d. ( citi n g F e d. R. E vi d. 7 0 2). N eit h er gr o u n d f or pr e cl usi o n

  p ert ai ns h er e.

              I n U nit e d St at es v. Fi n azz o , 2 0 1 3            W L 6 1 8 4 2 5 ( E. D. N. Y. F e b. 1 9, 2 0 1 3), t h e c o urt

  a d dr ess e d a d ef e n d a nt’s ar g u m e nts t h at R ul e 1 6 di d n ot r e q uir e an y dis cl os ur e b y t h e d ef e ns e. I d.

  at * 1.     As t h e c o urt e x pl ai n e d, t h at pr o p os e d i nt er pr et ati o n of t h e R ul e w as i n c o nsist e nt wit h its

  t e xt, a n d r e q uiri n g d ef e nse dis cl os ur es pr es e nts n o c o nstit uti o n al pr o bl e ms. I d. at * 2- 4.                   T he

  d ef e ns e r ais es n o s u c h ar g u m e nts h er e; it si m p l y c o nt e n ds t h at it h as s atisfi e d R ul e 1 6’s

  r e q uir e m e nts.

              T h e r eli ef r e q u est e d b y t h e g o v er n m e nt ( e x cl usi o n of Mr. H off m a n’s r e b utt al t esti m o n y) is




                                                                        - 5-
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  als o e ntir el y i n a p pr o pri at e. S e e U nit e d St at es v. T uz m a n , 2 0 1 7 W L 6 5 2 7 2 6 1, at * 1 2 ( S. D. N. Y.

  D e c. 1 8, 2 0 1 7) ( “ B e c a us e t h e G o v er n m e nt h as n ot s h o w n t h at [t h e d ef e n d a nt’s] d efi ci e nt

  dis cl os ur es pr e v e nt e d it fr o m c o n d u cti n g a n a p pr o pri at e cr oss- e x a mi n ati o n of [t h e e x p ert], t his

  C o urt will n ot pr e cl u d e [t h e e x p ert’s] t esti m o n y b as e d o n [t h e d ef e n d a nt’s] vi ol ati o n of R ul e 1 6. ”).

  T h e g o v er n m e nt h as n ot p oi nt e d t o a n y pr ej u di c e fr o m t h e ti mi n g of Mr. B arr a c k’s dis cl os ur es,

  a n d Mr. H off m a n’s t esti m o n y is h ar dl y s o t e c h ni c al as t o r e q uir e si g nifi c ant pr e p ar ati o n ti m e fr o m

  t h e g o v er n m e nt t o a d dr ess. S e e U nit e d St at es v. V al e nti n , 2 0 1 6 W L 1 2 1 1 3 0 4, at * 3 ( D. C o n n.

  M ar. 2 5, 2 0 1 6) (fi n di n g e x cl usi o n w as n ot t h e a p pr o pr i at e r e m e d y f or l at e dis cl os ur e of e x p ert

  wit n ess es w h er e t h e t esti m o n y di d n ot c o n c er n hi g hl y s ci e ntifi c or t e c h ni c al k n o wl e d g e); s e e als o

  2 5 M o or e’s F e d er al Pr a cti c e – Cri mi n al § 6 1 6. 0 5 ( M att h e w B e n d er 3 d e d.) ( R ul e 1 6 “is sil e nt as

  t o t h e ti mi n g of dis c o v er y, a n d c o urts h a v e u p h el d dis cl os ur e e v e n at r el ati v el y l at e st a g es of t h e

  pr o c e e di n gs l e a di n g u p t o tri al, as l o n g as t h er e w as n o si g nifi c a n t pr ej u di c e t o t h e ot h er p art y ”

  ( citi n g, i nt er ali a, U nit e d St at es v. W hit e , 5 8 2 F. 3 d 7 8 7, 8 0 4- 0 5 ( 7t h Cir. 2 0 0 9))).

                                                            C O N C L U SI O N

            F or t h e r e as o ns a b o v e, t h e g o v er n m e nt’s m o ti o n t o pr e cl u d e         Mr. H off m a n’s r e b utt al

  t esti m o n y s h o ul d b e d e ni e d.




                                                                     - 6-
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   D at e d:    N e w Y or k, N e w Y or k
                S e pt e m b er 2 6, 2 0 2 2

   WI L L KI E F A R R & G A L L A G H E R L L P

   B y: /s/ Mi c h a el S. S c h a c ht er
          Mi c h a el S. S c h a c ht er
          R a n d all W. J a c ks o n
          C as e y D o n n ell y
          St e v e n B all e w
          J or d a n R eis c h
          7 8 7 S e v e nt h A v e n u e
          N e w Y or k, N e w Y or k 1 0 0 1 9
          P h o n e: ( 2 1 2) 7 2 8- 8 0 0 0
          E m ail: ms c h a c ht er @ will ki e. c o m

   O’ M E L V E N Y & M Y E R S L L P

           J a m es A. B o w m a n ( a d mitt e d pr o h a c vi c e )
           4 0 0 S o ut h H o p e Str e et, 1 8t h Fl o or
           L os A n g el es, C A 9 0 0 7 1
           T el e p h o n e: ( 2 1 3) 4 3 0- 6 0 0 0
           F a csi mil e: ( 2 1 3) 4 3 0- 6 4 0 7
           E- m ail: j b o w m a n @ o m m. c o m

   A tt or n ey s for D e fe n d a nt T h o m as J. B arr a c k, Jr.




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